                      IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF TENNESSEE AT KNOXVILLE

 MARK DEW,                                     )
                                               )
        Plaintiff,                             )
                                               )        No. 3:11-cv-262
 v.                                            )
                                               )
 REBECCA ASHFORD, et al,                       )
                                               )
        Defendants.                            )



                                FINAL ORDER OF DISMISSAL



        The Court, having received and reviewed the parties' stipulation of dismissal pursuant to

 Federal Rule of Civil Procedure 41, does hereby ORDER that this case is dismissed with

 prejudice. Each party will bear and assume its own costs.

        Done this the //   ~ay of---'-'!:liii&-.IMN....,..._._,€""'------' 2013.


                                               United States District Judge




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